     Case: 1:14-cv-07816 Document #: 22 Filed: 03/09/15 Page 1 of 1 PageID #:57

                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Adana R. Finch
                           Plaintiff,
v.                                                Case No.: 1:14−cv−07816
                                                  Honorable John Robert Blakey
Real Page Inc.
                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 9, 2015:


        MINUTE entry before the Honorable John Robert Blakey: The parties' second
agreed motion to extend time to answer or otherwise plead [20] is granted. The
defendant's answer (or other responsive pleading) is now due 3/27/15. The 3/12/15 Notice
of Motion date is stricken; the parties need not appear. The 4/13/15 status hearing date
stands. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
